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                  UNITED STATES DISTRICT COURT

                 EASTERN DISTmCT OF LOUISIANA



HIRAN RODRIGUEZ,                              CIVIL ACTION NO. 2:25-cv-00I97

PLAINTIFF                                     SECTION A

                                              JUDGE JAY C. ZAINEY

V.

                                              DIVISION 2

META PLATFORMS, INC., ETAL.                   MAGISTRATE JUDGE

DEFENDANTS                                    DONNA P. CURRAULT



                                              JURY TRIAL DEMANDED




DECLARATION OF HIRAN RODRIGUEZ REGARDING CLERKS

              OFFICE OBSTRUCTION OF FILINGS
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I, HIRAN RODRIGUEZ, am the Plaintiff in the above-captioned case and hereby declare under

penalty of peijury that the following statements are true and correct to the best of my knowledge

and belief




1. Attempted Filing and Rejection on May 1,2025:

On May 1, 2025 (Thursday), I personally attempted to submit several documents for fding at the

Eastern District of Louisiana Clerks Office. These documents included motions and notices


pertinent to my Case (other than an amended complaint). Clerks Office personnel refused to

accept these filings because they were not labeled as an Amended Complaint. I was informed, in

substance, that pursuant to the Courts instructions, only an amended complaint would be

docketed at that time, and any other submissions from me would not be accepted or filed on that

date. This refusal prevented my documents including my signed AFFIDAVIT IN SUPPORT

OF MOTION TO DISQUALIFY JUDGE JAY C. ZAINEY AND MOTION TO

DISQUALIFY JUDGE ZAINEY UNDER U.S.C § 144 AND 28 U.S.C. § 455(a) AND (b)(1)

AND NOTICE OF PENDING JUDICIAL MISCONDUCT COMPLAINT AND


FEDERAL OBSTRUCTION OF PLAINTIFF’S FILING RIGHTS along with the attached

Exhibit FORENSIC RE-SUBMISSION OF REC. DOC. 183 AND NOTICE OF


UNAUTHORIZED ALTERATION UNDER FRE 902(11), 1006 RULE 59(e)/60 from being

filed on the record on Thursday, May 1,2025.



2. Pre-Prepared Court Orders on May 1,2025:

During the above-described attempt to file documents, it became apparent that the Clerks

Office already had one or more pre-printed court orders pertaining to my case on hand




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before reviewing ary submissions. Specifically, clerk personnel indicated that an order from

the Court had been prepared in advance regarding my filing status. This gave me the

understanding that the presiding Judge (or chambers staff) had anticipated my attempted

filings and had generated a preemptive ruling or instruction. The existence of a pre-prepared

order on May 1, 2025 before my documents were even considered underscores the extraordinary

level of coordination between the Court and Clerks Office in anticipating and thwarting my filing


efforts. It suggests that decisions were made ex parte about how to treat my expected filings,

raising serious due process concerns.




3. Docket Irregularities (Rec. Docs. 182-187):

The official docket in this case reflects several irregular and obstructive entries corresponding to

my attempts to file documents in late April and early May 2025:

- Rec. Doc. 182: Rather than docketing one of my April 29 submissions, the Courts docket

shows an entry at Rec. Doc. 182 that appears to be merely a placeholder or receipt, and not

the actual document I submitted. This placeholder entry misrepresents the nature of what was

filed and indicates that my actual filing was not entered into the record at that time.

- Rec. Doc. 183 (April 30, 2025): After noticing the issue with Rec. Doc. 182,1 re-submitted

my affidavit (a high-resolution color affidavit with an exhibit) via EDSS on Wednesday, at 9:28

AM CDT, on April 30, 2025. E-mail notification of a new docket entry (Rec. Doc. 183) at 10:21

AM CDT from courtlistener.com that very same morning, and a new filing on Pacer, shows a

version of that affidavit that I did not submit, it was entered in grayscale and with altered

formatting. In other words, the document docketed as Rec. 183 is a materially altered version of




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my filing, which I never authorized. It lacks the color and clarity of the original, and its alteration

raises questions of tampering or mishandling by court staff

- Rec. Docs. 186-187 (AprU 30,2025): These docket numbers were assigned to orders that were

issued on the same day as my EDSS filing and appear to be retaliatory in nature. Notably, Rec.

Doc. 186 blocks me from filing any document other than an amended complaint, and Rec. Doc.

187 directs that only in-person or mail filings to the Pro Se Unit would be accepted from me

going forward effectively suspending my ability to file electronically and chilling my access to

the court.




4. Improper Interference with Plaintiffs Access to the Court;

The events of April 30 and May 1, 2025, as described above, are part of a broader pattern of

interference. The Clerks Office, acting (as indicated) in tandem with directives from Judge

Zaineys chambers, has impeded my ability to file documents. This included rejecting filings

for arbitrary reasons (such as titling), altering submitted documents on the docket, and preparing

outcomes in advance of filings. Such actions have effectively denied me proper access to the

Court. They also violate the Clerks ministerial duty to docket filings impartially and the

fundamental fairness owed to a pro se litigant.



5. Harm to the Integrity of the Proceedings:

The above-described obstruction by the Clerks Office (and by extension, the Court) has

caused significant harm to the integrity of these proceedings. Filings that I made in good

faith were either not docketed, were docketed in distorted form, or were effectively

preempted by pre-made judicial decisions. This not only prejudices my case but also




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undermines public confidence in the Courts neutrality and the clerks role as an unbiased

administrator.




6. Preservation of Evidence:


I have retained copies of all documents I attempted to file, along with transmission receipts.

email correspondence, and any communications with court staff on May 1, 2025. These materials

corroborate the facts stated in this Declaration. I stand ready to provide this evidence to any


investigative authority or to the Court upon request. Additionally, I have formally requested

(through my Notice of Pending Judicial Misconduct Complaint and Federal Obstruction of

Plaintiff’s Filing Rights and related filings) that all relevant electronic logs and records be

preserved to enable a full review of the Clerks conduct.



I declare under penalty of perjury that the foregoing is true and correct.

Executed in Metairie, Louisiana, on Monday, May 5, 2025.


                                         VA^ C6 ts

/s/ Hiran Rodriguez

Hiran Rodriguez (Declarant)

Pro Se Plaintiff

820 Grove Avenue


Metairie, LA 70003

hiranrodri guez@outl ook. com

(504) 203-8459




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Without Prejudice Without Recourse

Dated: May 5, 2025.




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                         CERTIFICATE OF SERVICE




I, HIRAN RODRIGUEZ, hereby certify under penalty of perjury that on this 5th

day of May, 2025, a true and correct copy of the following filings;


[1] Plaintiffs Motion to Strike Orders Issued by Judge Jay C. Zainey as Fraudulent

and Void,

[2) Emergency Motion for Protective Order To Preserve Filing Access And Court

Record,

(3) Motion for Entry of Rule 54(b) Judgment,

(4) Rule 60(d)(3) Motion for Relief from Judgment Due to Fraud on the Court,

(5) Renewed Motion for Entry of Default Judgment,

(6) Motion to Vacate All Orders Issued After Filing of Recusal Motion (Rec. Doc.

91),

(7) DECLARATION OF HIRAN RODRIGUEZ REGARDING CLERKS OFFICE
OBSTRUCTION OF FILINGS


...was mailed to the Clerk of Court and thereby served on the presiding judge.

and was also electronically served to all Defendants (and/or their counsel of

record). This motion or filing or notice is made to preserve the record for

appeal or reinstatement and is filed without waiving any objections to the

Court's prior proceedings.


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Preserving all claims for judicial misconduct, procedural irregularity, and

constitutional injury under 28 U.S.C. §§ 144, 455, and 351; and reserving all

rights to appeal, object, and seek sanctions under Rule 11, Rule 55, Rule 60(b),

and Article 111.


No Joinder to any corporate, commercial, administrative, or inferior jurisdiction.

No tacit agreement presumed; no consent granted where none is explicitly

expressed.




Respectfully submitted.




/s/ HIRAN RODRIGUEZ, S\]\JURIS

Hiran Rodriguez,

Pro Se Plaintiff

820 Grove Avenue


Metairie, Louisiana 70003

(504) 203-8459

hiranrodriguez@outlook.com

Dated: May 5, 2025




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                            NOTICE OF SUBMISSION




NOW INTO COURT, comes Plaintiff, HIRAN RODRIGUEZ, appearing sui juris

and pro se, and respectfully gives notice that the foregoing Motion or Filing shall be

submitted to the duly assigned Article III judge or any reassigned judicial officer.

consistent with Plaintiff’s jurisdictional objections and previously filed Motion to

Recuse Judge Jay C. Zainey under 28 U.S.C. § 455(a) and (b) (Rec. Doc. 91), which

was denied by Judge Zainey in Rec. Doc. 100 but remains constitutionally contested

under 28 U.S.C. § 144.




This motion or filing or notice is made to preserve the record for appeal or

reinstatement and is filed without waiving any objections to the Court’s prior

proceedings.




Respectfully submitted, this      day of May, 2025.




/s/HIRANRODRIGUEZ

HIRAN RODRIGUEZ, SUI JURIS

PROSE PLAINTIFF


820 Grove Avenue




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     Dated: May 5,2025.


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     rights to appeal, object, and seek sanctions under Rule 11, Rule 55, Rule 60[b),

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